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          and Human Rights Watch
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     17                      UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
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          JENNY L. FLORES, et al.,                     Case No. CV-85-4544 DMG (AGRx)
     21
                                        Plaintiffs,    EX PARTE APPLICATION FOR
     22                                                LEAVE TO FILE BRIEF OF AMICI
                v.                                     CURIAE AMNESTY
     23                                                INTERNATIONAL USA AND
          WILLIAM P. BARR,                             HUMAN RIGHTS WATCH IN
     24   Attorney General, et al.,                    SUPPORT OF PLAINTIFFS’
                                                       MOTION TO ENFORCE THE FSA
     25                               Defendants.
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               EX PARTE APPLICATION OF AMNESTY INTERNATIONAL AND HUMAN RIGHTS WATCH
                                     CASE NO. CV-85-4544 DMG (AGRX)
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      1         Proposed amici Amnesty International USA and Human Rights Watch hereby
      2   request leave of this Court to file the attached Proposed Brief of Amici Curiae in
      3   Support of Plaintiffs’ Motion to Enforce the Flores Settlement Agreement (“FSA”),
      4   Dkt No. 919. A copy of the proposed brief is appended hereto as Exhibit 1.
      5         On August 7, 2020, this Court ordered Plaintiffs to file a “motion for the im-
      6   plementation of a proposed remedy for findings of breach relating to ICE’s failure
      7   to release Class Members without unnecessary delay and to make and record con-
      8   tinuous efforts to release Class Members.” In Chambers Order (Aug. 7, 2020), Dkt.
      9   No. 914 at 3. The Court “has broad discretion to appoint amici curiae,” Hoptowit v.
     10   Ray, 682 F.2d 1237, 1260 (9th Cir. 1982), abrogated on other grounds by Sandin v.
     11   Conner, 515 U.S. 472 (1995), and previously directed any amici to file briefs in
     12   connection with Plaintiffs’ motion no later than August 28, 2020, In Chambers Order
     13   (Aug. 7, 2020), Dkt. No. 914 at 4.
     14         Amici are leading non-partisan, non-profit human rights organizations. They
     15   have substantial expertise in the rights of asylum-seekers and migrants, including
     16   the rights of children detained by U.S. immigration authorities. In filing this brief,
     17   amici aim to provide an additional perspective as the Court determines how best to
     18   enforce the commitments the government has made in the FSA. Amici also propose
     19   additional substantive and procedural measures to ensure that the best interests of
     20   the child are protected in all efforts to enforce the FSA.
     21         Pursuant to Central District of California’s Local Civil Rules L.R. 7-19 and
     22   7-19.1, counsel for amici have contacted the parties in this matter. Both Plaintiffs
     23   and Defendants have consented to the filing of this amicus brief.
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             EX PARTE APPLICATION OF AMNESTY INTERNATIONAL USA AND HUMAN RIGHTS WATCH
                                     CASE NO. CV-85-4544 DMG (AGRX)
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            EX PARTE APPLICATION OF AMNESTY INTERNATIONAL USA AND HUMAN RIGHTS WATCH
                                    CASE NO. CV-85-4544 DMG (AGRX)
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      1                                      Respectfully submitted,
      2

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      4
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                                     CASE NO. CV-85-4544 DMG (AGRX)
